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 7                            UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
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10   BRIAN LIVESAY,                                        Case No.: 15-cv-1385-JLS MDD
11                                        Plaintiff,
                                                           ORDER GRANTING JOINT
12   v.                                                    MOTION TO DISMISS
13   CASHCALL, INC.,                                       (ECF No. 13)
14                                     Defendant.
15
16         Presently before the Court is the Parties’ Joint Motion to Dismiss (“Joint Mot.”).
17   (ECF No. 13.) The Parties request that “the above-captioned action be dismissed with
18   prejudice pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure.” (Joint Mot.
19   2.) Federal Rule of Civil Procedure 41(a)(1)(A)(ii) permits voluntary dismissal without a
20   Court Order when the Parties file “a stipulation of dismissal signed by all parties who have
21   appeared.” This rule is satisfied in the instant case; accordingly, the Parties’ Motion is
22   granted and the case is DISMISSED WITH PREJUDICE. As stipulated by the Parties,
23   “[e]ach party shall bear his/its own attorney’s fees and costs.” (Id.) Finally, because this
24   concludes the litigation in this matter, the Clerk shall close the file.
25         IT IS SO ORDERED.
26   Dated: May 23, 2017
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